Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 1 of 10 PageID #: 1966



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 SAN ANTONIO FIRE AND POLICE
 PENSION FUND, FIRE AND POLICE
 HEALTH CARE FUND, SAN ANTONIO,
 PROXIMA CAPITAL MASTER FUND LTD.,                       Civil Action No. 1:15-cv-1140-LPS
 and THE ARBITRAGE FUND,

                        Plaintiffs,

                  v.

 DOLE FOOD COMP ANY, INC., DAVID H.
 MURDOCK and C. MICHAEL CARTER,

                        Defendants.


                  JUDGMENT APPROVING CLASS ACTION SETTLEMENT

       WHEREAS, a consolidated class action is pending in this Court entitled San Antonio Fire

& Police Pension Fund, et al. v. Dole Food Company, Inc., Civil Action No. 1:15-.cv-1140-LPS

(the "Action");

       WHEREAS, (a) Lead Plaintiffs Proxima Capital Master Fund Ltd., San Antonio Fire and

Police Pension Fund, Fire and Police Retiree Health Care Fund, San Antonio and The Arbitrage

Fund (collectively, "Lead Plaintiffs"), on behalf of themselves and the Settlement Class (defined

below), and (b) defendant Dole Food Company, Inc. ("Dole" or the "Company") and defendants

David H. Murdock and C. Michael Carter (collectively, the "Individual Defendants;" and, together

with Dole, the "Defendants;" and together with Lead Plaintiffs, the "Parties") have entered into an

Amended Stipulation and Agreement of Settlement dated March 29, 2017 (the "Stipulation"), that

provides for a complete dismissal with prejudice of the claims asserted against Defendants in the

Action on the terms and conditions set forth in the Stipulation, subject to the approval of this Court

(the "Settlement");
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 2 of 10 PageID #: 1967



       WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall

have the same meaning as they have in the Stipulation;

       WHEREAS, by Order dated March 30, 2017 (the "Amended Preliminary Approval

Order"), this Court: (a) preliminarily approved the Settlement; (b) certified the Settlement Class

solely for purposes of effectuating the Settlement; (c) ordered that notice of the proposed

Settlement be provided to potential Settlement Class Members; (d) provided Settlement Class

Members with the opportunity either to exclude themselves from the Settlement Class or to object

to the proposed Settlement; and (e) scheduled a hearing regarding final approval of the Settlement;

       WHEREAS, due and adequate notice has been given to the Settlement Class and no

objections to the Settlement have been received;

       WHEREAS, the Court conducted a hearing on July 18, 2017 (the "Settlement Hearing") to

consider, among other things, (a) whether the terms and conditions of the Settlement are fair,

reasonable and adequate to the. Settlement Class, and should therefore be approved; and

(b) whether a judgment should be entered dismissing the Action with prejudice as against the

Defendants; and

       WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed and

proceedings held herein in connection with the Settlement, all oral and written comments received

and the record in the Action, and good cause appearing therefor;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

       1.      Jurisdiction - The Court has jurisdiction over the subject matter of the Action, and

all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties and

each of the Settlement Class Members.




                                                 2
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 3 of 10 PageID #: 1968



       2.      Incorporation of Settlement Documents - This Judgment incorporates and makes

a part hereof: (a) the Stipulation filed with the Court on March 29, 2017; and (b) the Notice and

the Summary Notice, both of which were filed with the Court on June 13, 201 7.

       3.      Class Certification for Settlement Purposes - The Court hereby affirms its

determinations in the Amended Preliminary Approval Order certifying, for the purposes of the

Settlement only, the Action as a class action pursuant to Rules 23(a) and (b)(3) of the Federal

Rules of Civil Procedure on behalf of the Settlement Class consisting of all persons and entities

who sold Dole common stock (i) during the period from January 2, 2013 through October 31,
                                 I
2013, inclusive, or (ii) on November 1, 2013 where those shares were sold on the open market and

were not held as of the closing of the Take-Private Transaction, and who were damaged thereby.

Ex~luded    from the Settlement Class are: Defendants; DFC Holdings, LLC; Dole's parents,

affiliates and subsidiaries; the Officers and directors of Dole, currently or during the Class Period

(i.e., the period from January 2, 2013 through the time immediately prior to the closing of the

Take-Private Transaction on November 1, 2013); the Immediate Family Members of any excluded

person; the heirs, successors and assigns of any excluded person or entity; and any entity in which

any excluded person has a cont~olling interest or had a controlling interest during the Class Period.

Also excluded from the Settlement Class is the person listed on Exhibit 1 hereto who is excluded

from the Settlement Class pursuant to request.

       4.      Adequacy of Representation - Pursuant to Rule 23 of the Federal Rules of Civil

Procedure, and for the purposes of the Settlement only, the Court hereby affirms its determinations

in the Amended Preliminary Approval Order certifying Lead Plaintiffs as Class Representatives

for the Settlement Class and appointing Lead Counsel as Class Counsel for the Settlement Class.

Lead Plaintiffs and Lead Counsel have fairly and adequately represented the Settlement Class both


                                                 3
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 4 of 10 PageID #: 1969



in terms oflitigating the Action and for purposes of entering into and implementing the Settlement,

and have satisfied the requirements of Federal Rules of Civil Procedure 23(a)(4) and 23(g),

respectively.

       5.       Notice - The Court finds that the dissemination of the Notice and the publication

of the Swrimary Notice: (a) were implemented in accordance with the Amended Preliminary

Approval Order; (b) constituted the best notice practicable under the circumstances; (c) constituted

notice that was reasonably calculated, under the circumstances, to apprise Settlement Class

Members of (i) the pendency of the Action; (ii) the effect of the proposed Settlement (including

the Releases to be provided thereunder); (iii) Lead Counsel's motion for an award of attorneys'

fees and reimbursement of Litigation Expenses; (iv) their right to object to any aspect of the

Settlement, the Plan of Allocation and/or Lead Counsel's motion for attorneys' fees and

reimbursement of Litigation Expenses; (v) their right to exclude themselves from the Settlement

Class; and (vi) their right to appear at the Settlement Hearing; (d) constituted due, adequate and

sufficient notice to all persons and entities entitled to receive notice of the proposed Settlement;

and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, the United

States Constitution (including the Due Process Clause), the Private Securities Litigation Reform

Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules.

       6.       Final Settlement Approval and Dismissal of Claims - Pursuant to, and in

accordance with, Rule 23 of the Federal Rules of Civil Procedure, this Court hereby fully and

finally approves the Settlement set forth in the Stipulation in all respects (including, without

limitation: the amount of the Settlement; the Releases provided for therein; and the dismissal with

prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,

in all respects, fair, reasonable and adequate to the Settlement Class. The Parties are directed to


                                                 4
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 5 of 10 PageID #: 1970



implement, perform and consummate the Settlement in accordance with the terms and provisions

contained in the Stipulation.

       7.      The Action and all of the claims asserted against Defendants in the Action by Lead

Plaintiffs and the other Settlement Class Members are hereby dismissed. with prejudice. The

Parties shall bear their own costs and expenses, except as otherwise expressly provided in the

Stipulation.

       8.      Binding Effect- The terms of the Stipulation and of this Judgment shall be forever

binding on Defendants, Lead Plaintiffs and all other Settlement Class Members (regardless of

whether or not any individual Settlement Class Member submits a Claim Form or seeks or obtains

a distribution from the Net Settlement Fund), as well as their respective successors and assigns.

The person listed on Exhibit 1 hereto is excluded from the Settlement Class pursuant to request

and is not bound by the terms of the Stipulation or this Judgment.

       9.      Releases -The Releases set forth in paragraphs 5 and 6 of the Stipulation, together

with the definitions contained in paragraph 1 of the Stipulation relating thereto, are expressly

incorporated herein in all respects.    The Releases are effective as of the Effective Date.

Accordingly, this Court orders that:

               (a)     Without further action by anyone, and subject to paragraph 10 below, upon

the Effective Date of the Settlement, Lead Plaintiffs and each of the other Settlement Class

Members, on behalf of themselves, and their respective heirs, executors, administrators,

predecessors, successors and assigns in their capacities as such, shall be deemed to have, and by

operation of law and of this Judgment shall have, fully, finally and forever compromised, settled,

released, resolved, relinquished, waived and discharged each and every Released Plaintiffs' Claim




                                                5
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 6 of 10 PageID #: 1971




against the Defendants and the other Defendants' Releasees, and shall forever be enjoined from

prosecuting any or all of the Released Plaintiffs' Claims against any of the Defendants' Releasees.

               (b)     Without further action by anyone, and subject to paragraph 10 below, upon

the Effective Date of the Settlement, Defendants, on behalf of themselves and their respective

heirs, executors, administrators, predecessors, successors and assigns in their capacities as such,

shall be deemed to have, and by operation of law and of this Judgment shall have, fully, finally

and forever compromised, settled, released, resolved, relinquished, waived and discharged each

and every Released Defendants' Claim against Lead Plaintiffs and the other Plaintiffs' Releasees,

and shall forever be enjoined from prosecuting any or all of the Released Defendants' Claims

against any of the Plaintiffs' Releasees. This Release shall not apply to the person listed on Exhibit

1 hereto.

        10.    Notwithstanding paragraphs 9(a) - (b) above, nothing in this Judgment shall bar

any action by any of the Parties to enforce or effectuate the terms of the Stipulation or this

Judgment.

       11.     Rule 11 Findings - The Court finds and concludes that the Parties and their

respective counsel have complied in all respects with the requirements of Rule 11 of the Federal

Rules of Civil Procedure in connection with the institution, prosecution, defense and settlement of

the Action.

       12.     No Admissions -Neither this Judgment, the Term Sheet, the Stipulation (whether

or not consummated), including the exhibits thereto and the Plan of Allocation contained therein

(or any other plan of allocation that may be approved by the Court), the negotiations leading to the

execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in




                                                  6
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 7 of 10 PageID #: 1972




connection with the Term Sheet, the Stipulation and/or approval of the Settlement (including any

arguments proffered in connection therewith):

               (a)     shall be offered against any of the Defendants' Releasees as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any of

the Defendants' Releasees with respect to the. truth of any fact alleged by Lead Plaintiffs or the

validity of any claim that was or could have been asserted or the deficiency of any defense that has

been or could have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault or other wrongdoing of any kind of any of the Defendants' Releasees or in any

way referred to for any other reason as against any of the Defendants' Releasees, in any civil,

criminal or administrative action or proceeding, other than such proceedings as may be necessary

to effectuate the provisions of the Stipulation;

               (b)     shall be offered against any of the Plaintiffs' Releasees, as evidence of, or
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construed as, or deemed to be evidence of any presumption, concession or admission by any of the

Plaintiffs' Releasees that any of their claims are without merit, that any of the Defendants'

Releasees had meritorious defenses, or that damages recoverable under the Complaint would not

have exceeded the Settlement Amount, or with respect to any liability, negligence, fault or

wrongdoing of any kind, or in any way referred to for any other reason as against any of the

Plaintiffs' Releasees, in any civil, criminal or administrative action or proceeding, other than such

proceedings as may be necessary to effectuate the provisions of the Stipulation; or

               (c)     shall be construed against any of the Releasees as an admission, concession

or presumption that the consideration to be given under the Settlement represents the amount

which could be or would have been recovered after trial; ·l




                                                   7
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 8 of 10 PageID #: 1973



provided, however, that the Parties and the Releasees and their respective counsel may refer to this

Judgment and the Stipulation to effectuate the protections from liability granted hereunder and

thereunder, or otherwise to enforce the terms of the Settlement.

       13.     Retention of Jurisdiction - Without affecting the finality of this Judgment in any

way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of

the administration, interpretation, implementation and enforcement of the Settlement; (b) the

disposition of the Settlement Fund; (c) any motion for an award of attorneys' fees and/or Litigation

Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d) any motion

to approve the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and (f)

the Settlement' Class Members for all matters relating to the Action.

       14.    . Separate orders shall be entered regarding approval of a plan of allocatio,n and the

motion of Lead Counsel for an award of attorneys' fees and reimbursement of Litigation Expenses.

Such orders shall in no way affect or delay the finality of this Judgment and shall not affect or

delay the Effective Date of the Settlement.

       15.     Modification of the Agreement of Settlement - Without further approval from

the Court, Lead Plaintiffs and Defendants are hereby authorized to agree to and adopt such

amendments or modifications of the Stipulation or any exhibits attached thereto to effectuate the

Settlement that: (a) are not materially inconsistent with this Judgment; and (b) do not materially

limit the rights of Settlement Class Members in connecrion with the Settlement. Without further

order of the Court, Lead Plaintiffs and Defendants may agree to reasonable extensions of time to

carry out any provisions of the Settlement.

       16.     Termination of Settlement - If the Settlement is terminated as provided in the

Stipulation or the Effective Date of the Settlement otherwise fails to occur, this Judgment shall be


                                                 8
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 9 of 10 PageID #: 1974



vacated, rendered null and void and be of no further force and effect, except as otherwise provided

by the Stipulation, and this Judgment shall be without prejudice to the rights of Lead Plaintiffs, the

other Settlement Class Members and Defendants, and the Parties shall revert to their respective

positions in the Action as of January 9, 2017, as provided in the Stipulation.

       17.     Entry of Final Judgment - There is no just reason to delay the entry of this

Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

directed to immediately enter tF.judgment in this Action.

       SO ORDERED this \              day of     J Ji ~ ,2017.

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                                                      Chief United States District Judge



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                                                  9
Case 1:15-cv-01140-LPS Document 98 Filed 07/18/17 Page 10 of 10 PageID #: 1975



                                   Exhibit 1

1.    Mick Tarel
      Gilbert, AZ




                                      10
